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                                IN THE UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF OREGON



     CHRIS W. & JENNIFER W.,                                Case No. 3:22-cv-00428-HZ

                      Plaintiffs,                           DEFENDANT OREGON PUBLIC
                                                            EMPLOYEES' BENEFIT BOARD'S
                                                            MOTION TO DISMISS PLAINTIFFS' THIRD
              v.                                            AMENDED COMPLAINT
     PROVIDENCE HEALTH PLAN; STATE OF
     OREGON PUBLIC EMPLOYEES BENEFIT
     BOARD PLAN; THE INTEL
     CORPORATION HEALTH AND WELFARE
     BENEFIT PLAN; BLUE CROSS OF
     CALIFORNIA dba ANTHEM BLUE CROSS;
     and DOES 1 through 10,

                      Defendants.
                                        LR 7-1 CERTIFICATION

              The undersigned counsel conferred with counsel for plaintiffs Chris W. and Jennifer W.,

     by telephone and email, regarding the potential motion to dismiss for lack of jurisdiction. The

     parties could not reach agreement requiring the State to file this motion to dismiss.




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                                                    MOTION

              Pursuant to Fed. R. Civ. P. 12(b)(2) and 12(b)(6), defendant State of Oregon Public

     Employees’ Benefit Board (the “State”) moves for the Court to dismiss Plaintiffs’ Third

     Amended Complaint as to the State because (1) this Court lacks personal jurisdiction under the

     Eleventh Amendment, (2) Plaintiffs cannot sue state actors for money damages in federal court,

     and (3) asserting supplemental jurisdiction over the State would violate the Eleventh

     Amendment.

                                              BACKGROUND
              Plaintiffs Chris W. and Jennifer W. (“Plaintiffs”) purport to be suing the State for breach

     of contract. Plaintiffs allege that they were third-party beneficiaries of a contract between the

     State and defendant Providence Health Plan (“Providence”). (Dkt. #91, 3d Amd. Compl. ¶ 70.)

     Plaintiffs allege further that Providence breached its contract with the State because Providence

     allegedly “fail[ed] to authorize urgent and medically necessary mental health care in response to

     claims submitted by Plaintiffs.” (3d Amd. Compl. ¶ 72.) Plaintiffs make no allegation that the

     State breached its contract beyond a reference to damages purportedly flowing from

     “Defendants’ breaches of contract.” (3d Amd. Compl. ¶ 73.) Plaintiffs concede that the State is

     not governed by the Employee Retirement Income Security Act of 1974 (“ERISA”). (3d Amd.

     Compl. ¶ 2).

                                        MEMORANDUM OF LAW

     I.       Applicable Legal Standard.

              A motion to dismiss for lack of personal jurisdiction is governed by Rule 12(b)(2). See

     Fed. R. Civ. P. 12(b)(2). When opposing a defendant’s motion to dismiss for lack of personal

     jurisdiction, the plaintiff bears the burden of establishing that jurisdiction is proper. Louis Vuitton

     Malletier, S.A. v. Mosseri, 736 F.3d 1339, 1350 (11th Cir. 2013); Lienemann v. Cruise Ship

     Excursions, Inc., 349 F.Supp.3d 1269 (S.D. Fla. 2018).


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              Under Federal Rule of Civil Procedure 12(b)(6), a court may dismiss a complaint for

     failure to state a claim upon which relief may be granted. Fed. R. Civ. P. 12(b)(6). A well-

     pleaded claim requires “a short and plain statement of the claim showing that the pleader is

     entitled to relief.” Fed. R. Civ. P. 8(a)(2). In order to meet that standard, a complaint’s “[f]actual

     allegations must be enough to raise a right to relief above the speculative level...on the

     assumption that all the allegations in the complaint are true (even if doubtful in fact).” Bell

     Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). The Rule 8 pleading requirements demand

     more than conclusory allegations of law dressed as facts. Ashcroft v. Iqbal, 556 U.S. 662, 678
     (2009). Further, Rule 8 requires allegations of facts that plausibly support a claim for relief,

     rather than facts that are merely consistent with the plaintiff’s theory. Twombly, 550 U.S. at 556-

     63; Iqbal, 556 U.S. at 678-79 (“[O]nly a complaint that states a plausible claim for relief survives

     a motion to dismiss.”)

     II.      Legal Arguments

              A. This Court lacks personal jurisdiction.

              It is well-established that in federal court, the Eleventh Amendment to the United States

     Constitution (“Eleventh Amendment”) bars suits against a state or its agencies for all types of

     relief, absent unequivocal consent by the state. Puerto Rico Aqueduct & Sewer Auth. v. Metcalf

     & Eddy, Inc. 506 U.S. 139, 144 (1993). “[N]either pendent jurisdiction nor any other basis of

     jurisdiction may override the Eleventh Amendment.” Pennhurst State School & Hosp. v.

     Halderman, 465 U.S. 89, 121 (1984) (holding that an un-consenting state and its agencies are

     immune from suit in federal court, regardless of the relief sought). The State of Oregon has not

     consented and does not consent to suit in federal court.

              Furthermore, while the Oregon Tort Claims Act (“OTCA”) waived the State’s immunity

     from suit in state courts, such action did not constitute a waiver of Eleventh Amendment

     immunity in federal court. Pennhurst, 465 U.S. at 99 n.9 (stating, “a State’s waiver of sovereign


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     immunity in its own courts is not a waiver of the Eleventh Amendment immunity in the federal

     courts”). Although “the State of Oregon has consented to be sued in Oregon courts for the torts

     committed by its employees, officers, or agents while acting within the course and scope of their

     employment under the OTCA, it has not consented to be sued in federal courts for those

     torts.” Blair v. Toran, No. CV-99-956-ST, 1999 WL 1270802, at *23 (D. Or. Dec. 2,

     1999), aff’d, 12 F. Appx 604 (9th Cir. 2001). Thus, this Court has repeatedly held that the OTCA

     “does not waive the State of Oregon’s Eleventh Amendment immunity to suit in federal court.”

     Webber v. First Student, Inc., 928 F. Supp. 2d 1244, 1269 (D. Or. 2013); accord, e.g., Est. of
     Pond v. Oregon, 322 F. Supp. 2d 1161, 1165 (D. Or. 2004) (“The Oregon Tort Claims Act is a

     waiver of sovereign immunity but does not waive Eleventh Amendment immunity. Thus, suits

     by private parties against the state must be brought in state court.”). Therefore, the State should

     be dismissed as a defendant for lack of personal jurisdiction.
              B. Plaintiffs cannot seek damages against the State in federal court.
              Plaintiffs’ prayer for money damages (see 3d Amd. Compl. ¶¶ 105-111) must be

     dismissed against the State on the grounds of Eleventh Amendment immunity. It is well

     established that neither the State nor State officials sued in their official capacity are subject to

     suits for damages in federal court. See, e.g., National Assoc. of the Deaf v. Florida, 980 F.3d 763

     (11th Cir. 2020); Ostroff v. State of Fla., Dept. of Health & Rehabilitative Services, 554 F.Supp.

     347, 354-355 (M.D. Fla. 1983); Kentucky v. Graham, 473 US 159 (1985). The Eleventh

     Amendment limits federal courts to issuing declaratory and injunctive relief against state

     officials to stop a continuing violation of federal law. Lambert v. Bd. of Trustees, 739 Fed. App’x

     938 (11th Cir. 2019). Plaintiffs’ breach of contract claim for damages must be dismissed against

     the State on Eleventh Amendment immunity grounds.




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               C. Asserting supplemental jurisdiction over the State would violate the Eleventh
                  Amendment.
               “[N]either pendent jurisdiction nor any other basis of jurisdiction may override the

     Eleventh Amendment.” Pennhurst, 465 U.S. at 121 (holding that an un-consenting state and its

     agencies are immune from suit in federal court, regardless of the relief sought). The State of

     Oregon has not consented and does not consent to suit in federal court. This Court’s ability to

     assert supplemental jurisdiction under 28 USC § 1367 does not override the State’s constitutional

     right not to be sued in federal court without its consent. Therefore, this Court should dismiss all

     claims against the State because it cannot assert supplemental jurisdiction without violating the

     Eleventh Amendment.

     III.      Conclusion

               For the foregoing reasons, the Court should dismiss Plaintiffs’ Third Amended

     Complaint against the State for lack of personal jurisdiction under the Eleventh Amendment.

     Additionally, Plaintiffs cannot recover monetary damages from the State in federal court,

     thereby leaving Plaintiffs without a claim upon which relief against the State can be granted.

               DATED July 14, 2023.

                                                            Respectfully submitted,

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